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II. Count Two: False and Fraudulent Claims of Medical Necessity.

118. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in this Complaint.

119. Defendants explicitly and / or impliedly represented to Medicare, and aided
and abetted one another in representing to Medicare, that the genetic tests that the
doctors were ordering were medically necessary and appropriate.

120. Defendants knew that the genetic tests were not in fact medically necessary
and appropriate, and in fact, were based on shaky science and of questionable
value to patients at all.

121. Defendant doctors and other doctors nationwide rarely if ever use Proove’s
tests in providing health care to patients.

122. Thus all defendants made false and fraudulent claims to the United States;
presented the claims to the United States for payment or approval; and did so
knowing that the claim was false or fraudulent, all in violation of 31 U.S.C. §
3729(a)(1).

IV. Count Three: Knowingly Presenting a False or Fraudulent Record
by “unbundling” multiple tests for billing.

123. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in this Complaint.

124. Defendants created false records stating that the “dates of treatment” were
different than the actual dates that services were provided to patients.

125. Defendants did so to “unbundle” multiple tests that were simultaneously run
from one cheek swab, to improperly multiply remuneration from Medicare and/or

private insurers.

18

COMPLAINT

 

 
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126. Defendants thus knowingly made, used, or caused to be made or used, a
false record or statement to get a false or fraudulent claim paid or approved by the
Government; all in violation of 31 U.S.C. § 3729(a)(2).

V. Count Four: Unlawful “Test Add-ons.”

127. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in this Complaint.

128. Defendants improperly ran “test add-ons” and caused “test add-ons” to be
run that were not medically indicated, had no value to the patients, and were
designed only for the purpose of generating additional revenue.

129. Defendants thus knowingly made, used, or caused to be made or used, a
false record or statement to get a false or fraudulent claim paid or approved by the
Government; all in violation of 31 U.S.C. § 3729(a)(2).

VI. Count Five: Conspiracy

130. Plaintiffs reallege and incorporate herein by reference each and every
allegation contained in this Complaint.

131. Defendants conspired to violate the law as set forth in Counts 1-5, supra.
132. Conspiracy to commit violations of the False Claim Act is also a violation off
the FCA. See 31 U.S.C. § 3729(a)(1)(C).

PRAYER FOR RELIEF
Plaintiff prays for judgment against defendants and on behalf of herself and
the United States as follows:
1. That this Court enter a judgment against Defendant in an amount equal to
three times the amount of damages the United States has sustained as a result

of Defendant’s violations of the False Claims Act;

19

COMPLAINT

 

 

 
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1 2. A civil penalty for each of Defendant’s violations of the False Claims Act as
2 set forth in § 3729(a)(1)(G);
3 . All costs of this action, with interest, including the cost to the United States
4 Government for its expenses related to this action;
5 . Reasonable attorneys’ fees in bringing this action;
6 5. A Relator’s award of at least 15% but not more than 25% of the proceeds of
7 the action (if the Government intervenes);
8 . A Relator’s award of at least 25% but not more than 30% of the proceeds of
9 the action (if the Government does not intervene);

10 . Prejudgment interest;

1] 8. That a trial by jury be held on all issues so triable; and

12 . That Relator Rachel Perry and the United States receive all relief to which

13 either or both may be entitled at law or in equity.

14

15 || Dated: April 5, 2017

16 Respectfully Submitted,

17

18

19 TIMOTHY A. scort \

20 NICOLAS O. JIMENE

21 LAW OFFICES OF TIMOTHY A.

22 SCOTT, APC

73 Attorneys for Plaintiff / Relator

Rachel Perry

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20

COMPLAINT

 
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EXHIBIT

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~ BIOSCIENCES

How-To: Test Add-On

I. Test Add-On General Info

Definition: additional test(s) the physician has requested subsequent to those originally ordered
When would a test add-on be ordered? 1) when not all test ordered where checked off on
Testing Agreement, 2) when physician decides to order additional tests due to a change in
patient’s treatment, or 3) when new tests are available

ll. What Visit Number is my Test Add-On?
Test Add-On requested...

ov \

During a patient’s study visit (e.g. visit2 or 3) After completion of all study visits

: .

Test Add-On Test Add-On
& &
Complete all functions of typical study visit (PQ, Do NOT complete any research functions; do
IIE, and include study visit on the OTR). NOT include PQ, IIE and do not include onto OTR.

ill. Add-On Checklist

LI Medical Necessity & Assignment of Benefits Packet (all white copies to Proove;
white Testing Agreement has patient and specimen labels)

L] Copy of patient demographics

LI Copy of insurance cards (both sides)

C1 Copy of govt. issued picture Identification

L] Specimen, if patient is present

LI Any study visit functions, if test add-on ordered during study visit

Patient Labels (write in ORIGINAL P-number):
CTesting Agreement LIOTR (if treated as visit 2)
LiSpecimen (write on specimen tube with permanent marker)

Specimen Labels (new SW-labels): Testing Agreement LSpecimen
Patient Copies (1 page): D0 Pink carbon copy of Testing Agreement

Physician Copies (1 page): 0) Yellow carbon copy of Testing Agreement

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~ BIOSCIENCES

IV. Reswab Instructions: Patient is NOT present

If the patient is NOT present and the doctor wants to order additional tests:

1. Have physician only sign the Medical Necessity and Assignment of Benefits Packet. The
patient signature will not be required. The following forms need to signed/completed:
Medical Necessity and Assignment
of Benefits, Proove Pain

 

 
  

agement Testing Agreement|
Viltedior | Tied docad Bag” Beto
“Pinar mens Fi iorters Bop Pies Per

 

Management Testing Agreement,
and Request for Authorization.

Foster _)Preceed |, lini Pentel

2. Write “Add-on” on the top left
hand corner of the Proove Pain
Management Testing Agreement
(TA) and complete all sections

3. Select the additional test(s) that
the physician wants to order

4. Write the ORIGINAL patient ID
(P) in the Proove Patient ID
Label/Number box on the TA.

 

 

5. Write the ORIGINAL sample ID
(SW) in the Specimen ID Label box
on the TA.

 

 

 

 

6. Include copies of demographics,
insurance card(s) and personal
identification

 

 

 

 

 

7. Fold the paperwork and place
in the sleeve of a specimen bag.

 

 

 

 

 
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bec sls} fh EERE ASB ATE Y aiokeleugEe
V. Reswab Instructions: Patient IS present

If the patient IS present and the doctor wants to order additional tests:
1. Have physician and patient sign the Medical Necessity and Assignment of Benefits Packet.
The following forms need to signed/completed: Medical Necessity and Assignment of Benefits,
Proove Pain Management Testing Agreement, and Request for Authorization.

 

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° ideow. __ [se Fa

Pddediaps “ised Arcmat Bihag Diaibonis

 

 

     

3. Write “Add-on” on the top left SESS tenses preor gee Tuners
w= Miacinren Eta pee Faia: ieee |, fish Pose

 

hand corner of the Proove Pain
Management Testing Agreement
(TA) and complete all sections

4. Select the additional test(s) that
the physician wants to order

5. Ask the patient the Y/N questions
for the phenotypes whether PBIO 1
is ordered or not.

6. Write the ORIGINAL patient ID
(P) in the Proove Patient ID
Label/Number box on the TA.

7. Assign a NEW sample ID (SW) by
obtaining a (SW) sticker and affixing

it onto the Specimen ID Label box
on the TA.

8. Affix the NEW sample ID (SW)
sticker onto the sample tube. Discard |=
the remaining 2 sample ID (SW)
stickers to avoid using them on
another patient.

9. Write the ORIGINAL patient ID

(P) onto the specimen ————
tube using a permanent marker. Saas esis isaon Saeen OaeaaROIR

himsiascdlimaismscrreunstiaraisnisanenticttl

 

 

 

 

 

   

 

10. Include copies of
demographics, insurance card(s)
and personal identification

 

11. Place the specimen inside the zippered portion c of the specimen bag...
Fold the paperwork and place in the sleeve of a specimen bag.
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EXHIBIT

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se : CV

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|
J

irst Thing in the Morni
e Print schedule off EHR
Check clinic log to see if a

 
   
 

      

REE

 

ws AIG 33

      

ELE

u click on each patient's name, if the “FY!” button at the top of the EHR screen is
yellow, click to see what it says
© Do not see patients who previously said they do not want genetic testing
@ Highlight the patients you will be seeing for the day
© Periodically check EHR to see if any patients have been added to the schedule
e Print all “Visit 2” Results
© Write common brand names next to each medication (See below)
© Place each patient’s results in his or her chart at the front desk
® Kathleen can show you where Dr. Abdollahi’s charts for the day are

e Check “Task List” on EHR

Misc.
e You will find a patient's ICD codes on his or her clinical desktop on the left side under
“Problem” tab
e You will find a patient's medications on his or her clinical desktop on the left side under
“Meds” tab
e Check Dr. Abdollahi's Surgery schedule for the week...it will be on his regular EHR Daily
Schedule... but under “type” it will say SURGAB and will usually be at teast 180 minutes
or more
© Print just pages 1 and 2 of the summary report for any patient who has had Proove
testing a
a Staple and put those results in the patient's chart...these will either be near
Suzy’s desk, on-Dr. Abdollahi’s desk, or in his black bag
FES De AO Wil EERIE sbRalientewho-arsinthe-hospitaly
© Go to nurse’s station or whatever floor th patient is on
© Explain you work with Dr. Abdollahi and he wants a test done on the patient
© Get the hospital facesheet for the patient from the nurse's Station for

   

     

  

  

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. Get envelopes from Supply room upstairs. Have Carla
downsiairs print postage on the envelopes. Print results off egnyte on your laptop
(Adam will help you set up your laptop to the printer). Get address from either Helix
or EHR. :

= Dr. Abdollahi wants every single patient swabbed to have a color copy of

his or her results

Sao! Apdollania

 

 

 
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|.

m | have so far mailed results to every patient who has not had a visit 2
m | am now in the process of mailing out results to patients who had a visit 2
“BEFORE* March 16th, 2016 and mailing out results to patients who
recently got swabbed and have not had any resuits mailed to them.
Eventually, you will be caught up and only have to mail results to patients
who recently got swabbed.
e The first bolded name down the list is the last patient | mailed
results to. Begin with the next patient who had a visit 2 before
March 16th, and keep going down the clinic log list mailing to
patients who had a visit 2 before March 16th
m The second bolded name on the list is the last patient | mailed results to
who recently got swabbed and has not received any results in the mail.
Make sure patients don't wait longer than 1.5 months after getting swabbed
to mail resuits
e On Tuesdays and Thursdays, Ava will be here using the desktop computer
© On Tuesdays, you can set up your laptop in and see patients out of Room 2 (As
long as Dr. Ashkenaze does not have patients that day)
e On Fridays, Nina will be here using the desktop computer
© On Thursdays and Fridays, you will work in Dr. Abdollahi’s office on your laptop
e Sometimes Dr. Abdollahi has you put the yellow flag up outside his room so he can easily
send patients your way

   

| usually printed test reports and other long documents from the AOS Xerox printer
° If! was printing something in smaller quantity (like the daily schedule) | would use
Dr. Abdollahi’s Brother printer
0 si/f outube. atch?v=v5LIZCB
= Use that video when toner runs low on Brother printer to get a few extra
prints
When you receive an insurance denial letter...
© Print office note and clinical summary from the patient's date of swab (located on
Clinical Desktop)
° Paper clip it to the denial letter and place it in the OTR envelope you are sending to
headquarters — OO
Tips for Getting in/Out of Room Quickly
e Give WOMAC portion of patient questionaire to patient to fill out his or herself...do
not ask them the 0-4 scale questions, as it tends to make him or her more chatty
® Do not fill out paperwork with patient, only have patients sign paperwork, and you
fill out paperwork later on your own time

 
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Visit 2

~~~ Gabapentin- Neurontin

  
 

e Right when you enter, tell the patient that Dr. Abdollahi might walk in at any time,
and if he does, you will follow up with them after
o When Dr. Abdollahi enters, stop what you're doing, take all
paperwork/swab with you, and tell the patient you will finish up with them
later
m You can re-enter when patient is waiting for x-rays, done with
X-rays and waiting for Dr. Abdollahi, waiting for injection, etc.

Print demographics (Press the blue “i” button in the top left corner after you click on a
patient's name on EHR schedule)

Print insurance card (Click “clinical desktop” after you click on a patient’s name on EHR
schedule or double click on the patient’s name on EHR schedule. A patient's insurance
card will be under “Misc Non-Medical” on the Clinical Desktop)

if the insurance card or demographics are not available, check the patient’s chart after the

'_ patient has been seen

© The patient's chart will be in a clear box in the front desk area
If a patient does not want to do genetic testing, click their name on the EHR schedule
° Click the “FY!” button at the top
m Enter “Does not want genetic testing +date”
© Go to their Office note from that day on their clinical desktop
m Click edit
= Click “At next visit” under “Plan” on the left
= Type “Recommend genetic testing”
m Save and exit. Sign the note at
If you swab a patient, enter in the “FY!” button box “Genetic testing +date of swab”

Print results (Summary and PBIO2) off Egnyte
Write the common brand names for each medication on the patient’s results
@ Hydrocodone- Norco/Vicodin
© Oxycodone- Oxycontin/Percocet
0 Morphine- MS Contin/Avinza
°o Tramadol-Ultram
o Hydromorphone- Dilaudid
© lbuprofen- Advil/Motrin

° Alprazolam- Xanax

°o Duloxetine- Cymbalta
o Acetaminophen- Tylenol
1; Results are on a scale of 1-52. 1 is lowest risk for opioid dependence; 52 is

highest risk

 
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t

o PBIO2: Don't read the result off summary report...read off the actual PBIO2 report

o PBIO4: Results are on a scale of 1-5. 1 is highest pain tolerance, 5 is most pain
sensitive. The average person is a 3. Explain what his or her result means (there is
a summary on the right side)

© PBIO17: These are potential risks (compared to the average person) for if a patient

takes NSAIDs on a frequent basis or higher than average dose

ZS 5) 902) Ee0eier means the medication is likely to do
what it is supposed to do because the patient has functional receptors for the
medication. Zijieiv961 spans means the medication is not likely to do what it
is supposed to do because the patient does not have functional receptors for the
medication.

a This test does not predict if a patient will have side effects or not

= “Normal dose”- he or she has properly functioning enzymes to break down
that medication

= ‘Lower dose”- he or she has inefficient enzymes to break down the
medication. He or she should take a lower than average dose so that they
do not get a build up of the medication in his or her body (can lead to
negative side effects or toxicity)

m “Higher dose”- his or her enzymes break down the medication too quickly.
He or she should take a higher than average dose so he or she does not
flush out the medication before getting the right effects

B48 How he or

ee

opioids siypics lh iced wih

       

 

   
 

 
 
 
 

™ Good/poor responder for Fentanyl= for pain relief

a Susceptible to respiratory suppression=ok for anesthesia

® Resistant to respiratory suppression=won't work as well with anesthesia
o PBIO2 Tes

t Results:

   

25 BGs 8 7 (SGaUNy Can take with same precaution as warning label on
boitle, what doctor typically prescribes, etc.

 
    
  
    

 
  

ek oe
Swi

 
 
    

© Reflect on the "F a patie
¢ GA pies SDB I
° Go ktop

#0 Click “new” under problems
‘ © Type “pain sensitivity”

 
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o Go to satlents clinical desktop -
o Click “new” under problems

© Type ' pain persia
oO aA § ane aed

      

Importing Results into EHR Clinical Desktop ae
e Make sure that if a patient has test results available on Egnyte, they are on the patient’s
clinical desktop
o Open internet explorer in the EHR desktop
© Download a patient's results from Egnyte
e Open St. Joseph Scan Live in the EHR desktop

o Click “file” — “import” — “import documents”
Click three dots next to “source file”
Click the summary file for patient
Under template click “batch basket” g
Click import i
Repeat for PBIO2 file for same patient apes
Exit Aliscript Document Management: import Documents tab
Click “batch” tab in upper left corner
Find summary file for patient you just imported
Click “sort to chart”
Type patient's last then first name to search for patient. Click on correct patient
Click the three dots next to “current folder”
Click on “Genetic testing” under “Misc Medical”
Click “File document”

o Repeat for PBIO2 file for same patient

e Delete the two files off EHR desktop’s downloads after you have imported them

 

 

° 00 09 OO OO OO BO oO Gg

o te a Gene fi Clinical De
Open St. Joseph Scan Live in EHR Desktop
Click “search” icon in upper left corner

~ Type patient's last then first name
Click Genetic testing folder under “Misc Medical” .
Right click the document you want to delete
Click “Cut”

Click on archives
Click “Paste”

eg

 

 
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RRS

some

 

 

For Dr. Wang’s Patients
e Do everything the same as Dr, Abdollahi except the following:
© Geta copy of a patient's demographics/insurance information from their paper
chart the same day you see the patient as Dr. Wang often takes charts home
Request ICD codes for each patient from Dr. Wang
Import patient's results to Practice Fusion
u Click “tasks” tab on left
Click “documents” in upper left corner
Click “upload”
When uploading, assign to “William Wang’ as provider
When uploading, name summary “Proove Summary” and name PBIO2
“Proove Drug Metabolism”
© You will need to check each patient's insurance manually in his or her chart when
he or she arrives

wear

rh

cee

 
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EXHIBIT

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PROOVE

BIOSCIENCES

Official Documentation and Daily Time Record

Physician Clinical Research Services

 

Physician / Clinic;

KOS of O0/ Dr. Abd olla

 

jLocation;

Una. Jy LAT. 441] [O27 18/2016

Clinic ID: # Enter Date:

 

 

 

 

 

 

(1) This time eta shall be used to account for time spent fulfilling the services, This record _ sere one day of services,

(2) Once this record has been completed and signed below, the ORIGINAL
(8) This record MUST ONLY BE SENT by MAIL or our SECURE FAX shown

form must be returned to our office for review and approval,
below,

(4) To comply with privacy regulations, DO NOT SEND this report electronically, Keep a copy for your records.
By Fax: 1-855-309-0282

By Mail: PROOVE MEDICAL LABORATORIES
26 Technology Drive East
irvine, CA 92618

 

EST B

1, the above noted physician, attest that the hours show below as “Time Spent”
were actually worked by me. Also, the hours shown are for services consistent with

those required to be performed by me pursuant to the Agreement.

(. Xp

Signature of Physiclan/Provider

Karim Abdollahi, M.D.

2 [1/8 / ___ Lo ata

Date

 

Print Name of Physician/Provider

EST, By Proo

The services provided were consistent with and in accordance with
the services required by Prog Bioscienc

 

  

 

 

 

 

vn ° TIME
cemvice |g | pear SUBJECT ID “FUNCTION PERFORMED (Check all that apply) SPENT,
. eS,

 

 

holw | ez.

AN

KW

12.00|490%

VISIT 4; [ }- Review Medical Record to identity Candidate, [ }- Oversee Patient
Enrolment & Informed Consent, [ }- Patient Questionnaire / VISIT 2: L4% Review -
Genetio information, J - Complete iE Form, /f- Patient QuestionnZire/ MISIT 34;
[ ]- Complete IIE Form [ ]- Patient Questidnnaire / [ ]- OTHER

 

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MSIT4: [ ]- Review Medical Record to Identify Canclidate, [ ]- Oversee Patlent
Enrollment & Informed Consent, [ ]- Patient Questlonnatre / VISIT 2: 14< Review
Ganetle Information 4“J- Complete NE Pampa Patlent Questionnaire/ VISIT 34:
{ ]~ Complete llIE‘Form [ ]- Patient Questlofinalre / [ ]- OTHER

VW

 

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- Genetic Information, [ ]- Comp

VISIT 4; 1~ Review Medical Record to identify Candidate, 14-'Oversee Patient

Enrolinfent & Informed Consent, OF Patient Questionnalré/ VISIT 2:[ }- Review
IIE Form, [ }- Patient Questionnaire/ VISIT 3+:

[ ]- Complete I'E Form { }- Patient Questionnaire / [ ]- OTHER

 

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MSITI: [ ]- Review Medical Record to Identify Candidate, [ ]- Oversee Patient
Enrollment & Informed Consent, [ ]~ Patient Questionnaire / VISIT 2: 4“Review
Genetic Information Complete IE Form, 7 Patient Questlonnaire/ VISIT 3:
{ ]- Complete IIE Form [ ]- Patient Questionnaire / [ ]- OTHER

IS4

 

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MSIT 1: [ ] - Review Medical Record to Identify Candidate, [ ]- Oversee Patient
Enrollment & Informed Consent, { ] - Patient Questionnaire / VISIT 244 Review
Genetic Information, [4 Complete IIE Form,4- Patient Questtonnaire/ VISIT 33:
[ }- Complete liE Férm [ ]- Patient Quesffonnaire / [ ]- OTHER

 

In"

 

-MISIT 4; [ ]+ Review Medical Record to Identify Candidate, { }- Oversee Patlent

Enrollment & Informed Consent, [ J - Patient Questionnaire / VISIT 2:[ }- Review
Genetic Information, [ ] - Complete \IE Form, [ ]- Patient Questlonnalre/ VISIT 34;
[ ]- Complete IIE Form [ )- Pattent Questionnaire / [ ]- OTHER

 

 

VISIT 4: [ ] - Review Medical Record to Identify Candidate, [ )- Oversee Patlent
Enrollment & Informed Consent, [ } - Patient Questionnaire / VISIT 2:[ ]- Review
Genetia Information, [ ] - Complete IE Form, [ }- Patient Questionnalre/ VISIT 3+;
[ ]- Complete IIE Form { }- Patlent Questionnalre / [ ]- OTHER

 

 

- MISIT-1: [ ]- Review Medical Record to Identify Candidate, []- Oversee Patient =

Enrollment & Informed Consent, [ } - Patlent Questionnaire / VISIT 2:[ ]- Review
Genetic Information, [ ]- Complete IIE Form, [ ]- Patient Questionnalre/ VISIT 34:
(]- Complete IIE Form [ }- Patient Questlonnaire/ [ ]- OTHER

 

 

VISIT 4; [ }- Review Medical Record to Identify Candidate, [ ]- Oversee Patient
Enrollment & informed Consent, { ]- Patient Questionnaire / VISIT 2: ( }- Review
Genetic Information, [ ]- Complete IIE Form, [ )- Patient Questionrialre/ VISIT 34:
[ ]- Complete IIE Form [ ]- Patient Questionnaire / [ ]- OTHER

 

 

 

 

 

 

 

VISIT i: [ ]- Review Medical Record to Identify Candidate, [ ]- Oversee Patient
Enrollment & Informed Consent, [ ] - Patient Questionnaire / VISIT 2: }- Review
Genetic information, [ }- Complete IIE Form, [ ] - Patient Questlonnalre/ VISIT 3+:
[ ]- Complete IIE Form [ }- Patient Questionnaire / [ ]- OTHER

 

 

 

 

Proove Biosciences, Inc | (855) 776-6832

MiLB Approved May 18, 2015

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EXHIBIT

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INVESTIGATOR INTERVENTION EVALUATION

Protocol:

Visit #:

 

 

Patient ID: P -

Location:

 

Date: Ss / /

 

PRODVE |

BIOSCIENCES

INVESTIGATOR REM YENTION SALUAMON

 

 

 

Test Ordered Opioid! Risk Genetic P files

 

 

 

Changed opioid prescribed

Started an opioid rotation

Switched from a long-acting to a short-acting opioid
Switched from a short-acting to a long-acting opioid
Increased or 0 decreased total opioid dose/frequency
Increased or 0) decreased frequency of urine drug screens
Other.

Oooaoo0aq0g

Oo

 

Decided to titrate the patient off opioids

Switched from an opioid to a non-opioid pain medication
Advised another provider to make changes in this
patient’s prescriptions

Spent more time with the patient

Felt more confident with your medical regimen after
reviewing and implementing the genetic information

No changes were implemented based on this test result

 

Please rate the benefit of this test on your patient's care, with 1= no benefit and 5 = - signific cant benefit (please circle a 4) 1 2 8 45

 

 

 

 

O Helped explain inconsistencies in the patient’s UDT

O Helped explain why the patient was not experiencing
adequate therapeutic benefit from his/her medications

O Helped explain why the patient was experiencing, or had
experienced, adverse events with his/her medication

 

| changed this patient's medication based on the DME result
| changed the patient’s dosage based on the DME result
The DME test result reduced the number of office visits and
number of medications used in trial-and-error until resolution
No ree were Hemera based on this test oath

 

  

| Please. rate ‘the. benef tof thi est ¢ on your patient's care, with 1= no bene

 

  

 

 

 

 

 

 

Ooaronwo

 

Was the patient’s self-reported pain score consistent with your evaluation of the patient’s injury?

Did the Pain Perception rating accurately predict whether the patient over or under-reported his/her pain?
Did the objective evaluation of pain sensitivity help guide your treatment plan decisions?

Did the test result help you to prescribe a medication that works better for your patient?

Did you order any additional diagnostic tests (e.g. MRI, x-rays, etc) based on the test report?

Did you order any of the following alternative therapies based on the Pain Perception test results?

O Cognitive-Behavioral Therapy 0 Physical Therapy O Psychiatric Consultation 0 Other:

Yes oO Noo Unsure o
Yes 0 Noo Unsure 0
Yes Oo Noo Unsure 0
Yes Oo Noo Unsure 0
Yes o Noo NA oo

 

 

Start Date (approx.) Dose

/ /

Medication Frequency

J Discontinued

Rate y your: Patient’ 's response to
on inc to their last visit:

No Change Improved No Change | Worsened

 

 

 

 

 

 

 

 

 

 

 

 

Please check which test was ordered for the patient: > O Oo Oo Oo
Indicate below 4 whether each applicable test result Opioid Non Opioid Medically Assisted Epidural
influenced your patient care in the following ways: Response Response Treatment with Fentanyl

Helped explain why the patient was not experiencing adequate
therapeutic benefit from his/her medications Yes Noo Yes. Noo Yes Non Yeso Noo
Helped explain why the patient was experiencing, or had
experienced, adverse events with his/her medications Yesq Noo Yeso Noo Yeso Noo Yeso Noo
| selected a different medication based on this test result Yeso Noo Yeso Noo YesO Noo YesoO Noo
| changed the medication dosage based on this test result Yeso Noo YesoO Noo YesoO Noo Yeso Noo
The test result reduced the number of medications used in
tria-and-error until resolution Yeso Noo Yeso Noo YesoO Noo YesoO Noo
Please rate the value of the test in improving your patient’s io 1o 1o to
care by circling a number, with: 20 20 20 20
1= Not at all valuable, 2= Slightly valuable, 30 30 3o 30
3= Moderately valuable, 4= Mostly valuable, 40 40 40 40
5= Extremely valuable §o §o §o §o

 

 

 

 

 

Investigator Signature:

 

MLR Approved July 1, 2015

Investigator Name:

Sourced From Electronic File

 

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EXHIBIT

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